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7    Gregory Burns Snyder
8
9
                                  IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,                      )   NO. 1:10-cr-00080 AWI-DLB
                                                    )
14                         Plaintiff,               )   STIPULATION TO CONTINUE CHANGE OF
                                                    )   PLEA HEARING;
15          v.                                      )   ORDER
                                                    )
16   GREGORY BURNS SNYDER ,                         )
                                                    )   Date: April 9, 2012
17                         Defendant.               )   Time: 10:00 a.m.
                                                    )   Judge: Honorable Anthony W. Ishii
18                                                  )
19
20          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective counsel
21   of record herein, that the Change of Plea hearing in the above captioned matter, now scheduled for March
22   26, 2012, may be continued to April 9, 2012, at 10:00 a.m.
23          The reason for this continuance is to allow additional time for plea negotiations. The requested
24   continuance will conserve time and resources for both counsel and the court.
25   ///
26   ///
27   ///
28   ///
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1               The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
3    3161(h)(8)(B)(I) and (iv).
4                                                                     BENJAMIN B. WAGNER
                                                                      United States Attorney
5
6    Dated: March 22, 2012                                           /s/ Laurel J. Montoya
                                                                     LAUREL J. MONTOYA
7                                                                    Assistant United States Attorney
                                                                     Attorney for Plaintiff
8
9                                                                     DANIEL J. BRODERICK
                                                                      Federal Defender
10
11   Dated: March 22, 2012                                           /s/ Peggy Sasso
                                                                     FRANCINE ZEPEDA
12                                                                   PEGGY SASSO
                                                                     Assistant Federal Defender
13                                                                   Attorneys for Defendant
                                                                     Gregory Burns Snyder
14
15
16
17
18                                                       ORDER
19   IT IS SO ORDERED.
20
     Dated:         March 22, 2012
21   0m8i78                                                       CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Status
     Conference Hearing; Order                              -2-
